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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )
       vs.                                       )                  8:08CR473
                                                 )
TODD CHARLES MATTHEWS,                           )                    ORDER
                                                 )
                      Defendant.                 )



      The court has reviewed the government's response to the motion for disclosure of
Brady material (#59) filed by Todd Charles Matthews.

       Paragraph 1 of the response (#61) indicates that the proffer statements of Thomas
Carr, Douglas Cross and Linda Hernandez1 were provided to "the Defense" on December
11, 2008, approximately one week before defendant Matthews was indicted and
approximately three weeks before Matthews' attorney, Deborah Sanwick, was appointed.

       IT IS ORDERED that counsel for the United States shall file a supplemental
response no later than 12:00 noon on Friday, April 24, 2009, indicating whether the
proffer statements of Thomas Carr, Douglas Cross and Linda Hernandez have actually
been provided to Todd Charles Matthews or any attorney representing him concerning the
current charges. If the statements have not been provided, counsel shall state whether the
government intends to disclose the proffer statements to present counsel, Deborah
Sanwick.

       DATED April 22, 2009.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge




   1
    Carr, Cross and Hernandez were indicted in August 2008 in a separate case, No. 8:08CR323.
